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                                                                Exhibit A
    Date   item                          quantity         PO        DO    Company                       Invoice #         Delivered Remain Amount
10/23/2013 Javelin Odyssey                              4 202526 202526   Sky fusion           27346                               4       0   $19,400.00
           Javelin Odyssey                              6 202527 202527   Sky fusion           27346                               6       0   $29,100.00
           Saber 2 Canopy                              10 202526 202526   Sky fusion           1485                               10       0   $22,000.00
           PD Reserve                                  10 202526 202526   Sky fusion           1485                               10       0   $14,000.00
           Main Pilot Chute/ D bag                     10 202526 202526   Sky fusion           27278                              10       0    $3,050.00
           Main Parachute Risers                       10 202526 202526   Sky fusion           27278                              10       0    $2,500.00
           Main Parachute Cut Away Handle              10 202526 202526   Sky fusion           27346                              10       0      $750.00
           Reserve Pilot Chute                         10 202526 202526   Sky fusion           27278                               5       5      $840.00
           Skyhook RSL                                 10 202526 202526   Sky fusion           27346                              10       0    $2,900.00
           Reserve Parachute Rip Cord                  10 202526 202526   Sky fusion           27346                              10       0    $1,250.00
           Full Inspection and Assembly                30 202526 202526   Sky fusion           1406                               10      20    $6,000.00
           Line Set PD                                 10 202528 202528   Sky fusion           1485                               10       0    $4,500.00
           Reserve Pilot Chute                         10 202528 202528
11/18/2013 Javelin Odyssey                             20 202552 202552
           Saber 2 Canopy                              28 202552 202552   Sky fusion           1485                               10           18     $20,900.00
           Reserve Canopy                              28 202552 202552   Sky fusion           1485/112113                        11           17     $14,630.00
           Pilot Chute Carry Bag                       30 202552 202552
           Main Pilot chute and D-bag                  10 202552 202552
           Line Set PD                                 10 202552 202552   Sky fusion           1451                                5           5       $2,137.50
           Main Parachute Risers                       10 202552 202552   Sky fusion           1425                               10           0       $2,375.00
           Skyhook RSL                                 15 202552 202552
           Reserve D-Bag and Skyhook                   20 202552 202552
11/21/2013 Cypress 2 expert                            20 305292 305292   Sky fusion           121598                             20            0     $30,400.00
           Cypress 2 mainteance                        30 305292 305292   Sky fusion           121598                             30            0      $7,837.50
           Reserve Parachute Rip Cord                  10 305292 305292   Sky fusion           1425                                2            8        $237.50
           Verticle Suit Raptor 2                      20 305292 305292   Sky fusion           2097-2100                           5           15      $5,700.00
           Tony Suit                                   20 305292 305292   Sky fusion           1439, 1412                         20            0     $11,020.00
           Parachute bag blk                           40 305292 305292   Sky fusion           9639/10124                         40            0      $7,600.00
           O2 pocket                                   40 305292 305292
           D-Bag main                                  40 305292 305292
 2/17/2014 Parachute System MT 2XX                     20 305291 305291   TPRS/GLGI            0214-17/0614-7             15/5                       $290,500.00
           Canopy Main/Reserve MC-5                    40 305291 305291   TPRS/GLGI            0214-17/0614-7             15/25
           Risers Main MC-5                            80 305291 305291   TPRS/GLGI            0214-17/0614-7             30/50
           Bridle Pilot Chute Main                     40 305291 305291   GLGI                 0614-7                                                $300,000.00
           Pilot Chute Main CG                         40 305291 305291   TPRS                 0214-17                            15
           Rip cord Main Release                       40 305291 305291
           HC,MT2XX,WCYP red                           15 305291 305291
           Parachute Bag Carry                         15 305291 305291
 2/18/2014 Javelin Odyssey                              5 202599 202599
           Saber 2 Main                                 8 202599 202599
           Reserve Canopy                               5 202599 202599
           Main Pilot chute and D-bag                   5 202599 202599
           Main Parachute risers                        5 202599 202599   Sky fusion           1451                                5            0      $1,187.50
           Reserve Parachute Rip Cord                   5 202599 202599
 3/25/2014 saber 2 Main                                 1 202611 202611
           Reserve Canopy                               1 202611 202611
           Line set PD                                  1 202611 202611
  5/8/2014 Cypress 2 INST/MAINT                        10 202630 202630   Sky fusion              15002/130272                     7            9      $29,840.00
           Reserve Canopy                              20 305399 305399   Sky fusion/SSTC         15002/1282017-1                 13            7      $14,630.00
           Line set PD                                 20 305399 305399   Desert Skies Para RigginEOD030317                        4           16         $940.00
           Saber 2 Main                                20 305400 305400   Sky fusion/SSTC         15002/15010/1282017-1           15            5      $31,500.00
           Javelin Odyssey                             10 305401 305401   ARNE                    11142017-1/10021                10            0      $46,070.00
           Javelin Odyssey                             10 305404 305404   SSTC                                                     1            9       $4,607.00
 5/17/2014 Crye/Military Shirts                        20    SUB          GSS/Sky Fusion          5558                            20            0       $3,768.60
 9/12/2014 Altimeters                                  20    SUB          ARNE                    45663                           20            0       $6,120.00
 6/30/2015 Altimeters                                  20 202630 202630   L&B                     45663                           20            0       $6,120.00
 7/10/2015 Go Pro                                       6                 Nex                                                                           $2,550.00
 7/26/2015 Cookie Helmets/Accessories                  30                 Cookie                  SSUF2500-1/2                    30            0      $11,754.00
 12/2/2016 Spot                                        40                 Spot                                                                          $6,995.58
 12/3/2016 Mountain Load out Kit                       45         3       Tidewater Tatical       23799                                                $79,404.16
 1/18/2017 Altimeter N3 Tatical                        30 17-31671        Alti-2                                                  30            0      $17,930.00
  2/4/1957 Cookie Helmets/Accessories                   1                 Cookie                                                                       $20,745.00
 2/16/2017 Mohoc                                       20      2155       Mohoc                   2155                                                 $10,325.57
  3/3/2017 Misc parachute parts                       112                 Desert Skies Para Riggineod030317                                             $4,014.00
  4/1/2017 Spot                                        80       SUB       Spot                    9210150                         80            0       $7,690.00
  4/5/2017 Calibration chamber                          1                 Angels instruments      W7844                            1                      $275.00
  5/9/2017 GPS/Altimeter/Compass                       20 25031/25063     Strohman Enterprise                                     20            0      $11,980.00
 5/11/2017 Misc parachute parts                         1                 Desert Skies Para RigginARNE051117                                            $5,202.00
12/21/2017 Montana exposure loadout                     1                 Tidewater Tatical       17348                                                $41,952.00
  1/1/2018 Spot                                        80                 Spot                                                                         $10,492.16
  4/6/2018 Spot                                        80                 Spot                                                                         $10,496.12
 1/15/2018 Gear Rental, Montana                         1 John Nolan                                                                                   $34,301.00
                                                                                                                                       total        $1,220,517.19

           Total contract with Vet Log:         $1,434,701.50
           Total ARNE Purchased:                 $409,787.00
           Total ARNE Purchased not on contract $220,230.19
           Total GLGS and TPRS:                  $590,500.00
           Total Remaining:                      $434,414.50
